   Case 1:22-cv-00099-JAO-KJM Document 1 Filed 03/14/22 Page 1 of 6                    PageID #: 1
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                                                                                             INTHE
                                                                              UNITED STATES DISTRICT COURT
                                                                                   DISTRICT OF HAWAII
                                                                                   DISTRICT
                                                                                14 March 2022 10:52 AM lrs
                                                                               Michelle
                                                                               Michelle Rynne, Clerk
                                                                                        Rynne, Cle rk of  Court
                                                                                                      o f Court

                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE _ _ _ _ DISTRICT OF Hc<.w(J;y
                                    _ _ _ _ OIVISlON
                           (Write the District and Division, if any , of
                           the court in which the complaint is filed.)



                                                       Complain t for a Civil Case


                                                       Case No. 22-00099-.JAQ-K. IM
(Write the full name of each plaintiff who is filing   (to be filled in by the Clerk's Office)
this complaint. If the names ofall the plaintiffs
cannot fit in the space above, please write "see       Jury Trial:     D Yes       •     No
attached" in the space and attach an additional                        (check one)
page with the full list ofnames.)


    -against-

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 A\13~~ ,          A~e. l (~~oJ ee)
(Write the full name ofeach defendant who is
being sued. If the names ofall the defendants
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list ofnames.)
     Case 1:22-cv-00099-JAO-KJM Document 1 Filed 03/14/22 Page 2 of 6                           PageID #: 2

I.     The Parties to This Complaint

       A.    The Plaintiff(s)

             Provide the information below for each plaintiff named in the complaint. Attach
             additional pages if needed.

                    Name
                    Street Address         p,o   Bo>--. 1l I 0d". IS 4 wa..:o...,,-<.e.-u<.e 1\1::. S~ I
                    City and County        H-00
                    State and Zip Code
                                                 7
                    Telephone Number         s '.3 o- d-\ o- 3 a- s~
                    E-mail Address

       B.    The Defendant(s)

             Provide the information below for each defendant named in the complaint,
             whether the defendant is an individual, a government agency, an organization~or
             a corporation. For an individual defendant, include the person's job or title (if
             known). Attach additional pages if needed.

             Defendant No. 1
                    Name
                    Job or Title
                    (if known)
                    Street Address
                    City and County
                    State and Zip Code
                    Telephone Number
                    E-mail Address
                    (if known)

             Defendant No. 2
                    Name
                     Job or Title
                     (ifknown )
                     Street Address         , '?-:>? I '1 B koa. t/;-J\7t'               J &,(~f- It
                     City and County         f 4 ~ 00(

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                   Case 1:22-cv-00099-JAO-KJM Document 1 Filed 03/14/22 Page 3 of 6                                PageID #: 3




                                         State and Zip Code
                                         Telephone Number
                                         E-mail Address
                                         (if known)

                             Defendant No. 3
                                     Name
                                     Job or Title
                                     (if known)
                                     Street Address
                                                                f 7--~1       IY pq_koC\_           V;Uare          v-J..   #-A
                                     City and County          Jf u1aM ,<. .   p~kl'.X)(_
                                     State and Zip Code
                                     Telephone Number
                                     E-mail Address
                                     (ifknown)

                             Defendant No. 4
                                     Name                       AV\g-e.. I ( \tt 9{-        M    flL-Le   L-< vi K. vi e w .,)
                                     Job or Title               ~ ~ t eyee       I   f/Vl °'--~,e,,.r CV\._     ol u..±y
                                     (if known)
                                     Street Address
                                                                                                            I
                                     City and County .
                                     State and Zip Code         th    I   q0J7tfo
                                     Telephone Number
                                     E-mail Address
                                     (if known)

             II.     Basis for Jurisdiction

                     Federal courts are courts oflimited jurisdiction (limited power). Generally, only two
                     types of cases can be heard in federal court: cases involving a federal question and cases
                     involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331 a case arising
                     under the United States Constitution or federal laws or treaties is a federal question case.
                     Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
                     State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
                     case. In a diversity of citizenship case, no defendant may be a citizen of the same State
                     as any plaintiff.



,_ __ ____
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      What is the basis for federal court jurisdiction? (check all that apply)

            81:   Federal question                         •      Diversity of citizenship

      Fill out the paragraphs in this section that apply to this case.

      A.     If the Basis for Jurisdiction Is a Federal Question

             List the specific federal statutes, federal treaties~ and/or provisions of the United
             States Constitution that are at issue in this case.


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     B.      If the Basis for Jurisdiction Is Diversity of Citizenship

             1.       The Plaintiff(s)

                      a.      If the plaintiff is an individual

                              The plaintiff, (name) _ _ _ _ _ _ _ _ _ _ , is a citizen of
                              the State of (name) _ _ _ _ _ _ _ _ __

                      b.      If the plaintiff is a corporation

                              The plaintiff, (name) _ _ _ _ _ _ _ _ _ _, is incorporated
                              under the laws of the State of (name)      _________           _,

                              and has its principal place of business in the State of (name)



                      (If more.than one plaintiff is··named in the complaint, attach an additional
                      page providing the same information for each additional plaintiff)

             2.       The Defendant(s)

                      a.     If the defendant is an individual
                             The defendant, (name) _ _ _ __ _ ____ is a citizen of
                             the State of (name)                 . Or is a citizen of
                             (foreign nation) _ _ _ _ _ _ _ _ __




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                      b.     If the defendant is a corporation

                             The defendant, (name) _ _ _ _ _ _ _ _ _ _ , is
                             incorporated under the laws of the State of (name)
                                                                                       of
                             --------                 -~ and has its principal place
                             business in the State of (name)_ ______ ___ Or is
                             incorporated under the laws of (foreign nation)
                             _____ ____                _ , and has its principal place of

                             business in (name)
                                                  ----------
                      (If more than one defendant is named in the complaint, attach an
                      additional page providing the same information for each additional
                      defendant.)

             3.       The Amount in Controversy

                      The amount in controversy- the amount the plaintiff claims the defendant
                                                                                                             ?,
                      owes or the amount at stake-is more than $75,000, not counting interest
                      and costs of court, because (explain):

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                      ,1 o c.<>v( ~hr~/ e..i-wt>-h&kq_,{p ~ c<Jsfres5 , p ~ \ic. s k,v .t-~ 1 .s tre ~$

m.   Statement of Claim

     Write a short and plain statement of the claim. Do not make legal arguments. State as
     briefly as possible the facts showing that each plaintiff is entitled to the damages or other
     relief sought. State how each defendant was involved and what each defendant did that
     caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
     of that involvement or conduct. If more than one claim is asserted, number each claim
     and write a short and plain statement of each claim in a separate paragraph. Attach
     additional pages if needed.


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      Case 1:22-cv-00099-JAO-KJM Document 1 Filed 03/14/22 Page 6 of 6                            PageID #: 6

IV.   Relief
                                                                                         court to
      State briefly and precise ly what damag es or other relief the plainti ff asks the
                                                                                         wrongs
      order. Do not make legal arguments. Include any basis for claimin g that the
                                                                                          damag es
      alleged are continu ing at the presen t time. Include the amoun ts of any actual
                                                                                             e or
      claime d for the acts alleged and the basis for these amounts. Include any punitiv
                                                                                      are entitled to
      exemp lary damag es claime d, the amoun ts, and the reasons you claim you
      actual or punitiv e money damages.

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V.    Certification and Closing
                                                                                          best of my
      Under Federa l Rule of Civil Proced ure 11, by signing below, I certify to the
                                                                                             ted for an
      knowle dge, inform ation, and belief that this complaint: (1) is not being presen
                                                                                           increas e the
      improp er purpos e, such as to harass, cause unnece ssary delay, or needle ssly
                                                                                              nt for
      cost of litigati on; (2) is suppor ted by existin g law or by a nonfriv olous argume
                                                                                          have
      extend ing, modify ing, or reversi ng existin g law; (3) the factual conten tions
                                                                                        tiary suppor t
      eviden tiary suppor t or, if specifi cally so identified, will likely have eviden
      after a reason able opport unity for further investi gation or discovery; and (
                                                                                       4) the
      compla int otherw ise compli es with the require ments of Rule 11.

      A.       For Parties Without an Attorney

               I agree to provid e the Clerk's Office with any change s to my addres s where case-
                                                                                            t
               related papers may be served. I unders tand that my failure to keep a curren
               addres s on file with the Clerk's Office may result in the dismis sal of my case.

               Date of signing :   Mew-oh r; , 20.lJ
               Signatu re of Plainti ff
               Printed Name of Plainti ff



       B.      For Attorneys

               Date of signing : _ _ _ __, 20_ .



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